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10   and Pacific Gas and Electric Company and for
     Certain Current and Former Independent Directors
11
                              UNITED STATES BANKRUPTCY COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
14
     In re:                                      Bankruptcy Case
15                                               No. 19-30088 (DM)
     PG&E CORPORATION,
16                                               Chapter 11
              - and –
17                                               (Lead Case)
     PACIFIC GAS AND ELECTRIC
18   COMPANY,                                    (Jointly Administered)
19                              Debtors.
                                                   NOTICE OF SECOND SUPPLEMENTAL
20       Affects PG&E Corporation                 DECLARATION OF MICHAEL H. TORKIN
         Affects Pacific Gas and Electric Company RELATING TO THE RETENTION OF
21       Affects both Debtors                     SIMPSON THACHER & BARTLETT LLP
                                                   AS COUNSEL FOR THE BOARD OF
22   * All papers shall be filed in the Lead Case, DIRECTORS OF EACH OF PG&E
     No. 19-30088 (DM).                            CORPORATION AND PACIFIC GAS AND
23                                                 ELECTRIC COMPANY AND FOR
                                                   CERTAIN CURRENT AND FORMER
24                                                 INDEPENDENT DIRECTORS PURSUANT
                                                   TO ORDER ENTERED MAY 10, 2019
25                                                 [DOCKET NO. 1979]
26

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                                                    2
 1          On May 10, 2019, this Court entered the Order Authorizing Debtors to Pay the Fees and

 2   Expenses of Simpson Thacher & Bartlett LLP Pursuant to 11 U.S.C. § 327(e) as Counsel to the Board

 3   of Directors of Each of PG&E Corporation and Pacific Gas and Electric Company and Pursuant to 11

 4   U.S.C. § 363 as Counsel to Certain Current and Former Independent Directors [Docket No. 1979].

 5          PLEASE TAKE NOTICE that, attached hereto as Exhibit 1 is the second supplemental

 6   declaration of Michael H. Torkin submitted as a supplement to the Declaration of Michael H. Torkin in

 7   Support of the Motion Pursuant to 11 U.S.C. § 363(b) Authorizing Debtors to Pay the Fees and Expenses

 8   of Simpson Thacher & Bartlett LLP as Counsel to the Independent Directors of PG&E Corp. [Docket

 9   No. 1183] (the “Torkin Declaration”) and the Supplemental Declaration of Michael H. Torkin in

10   Support of the Motion Pursuant to 11 U.S.C. § 363(b) Authorizing Debtors to Pay the Fees and Expenses

11   of Simpson Thacher & Bartlett LLP as Counsel to the Independent Directors of PG&E (As Modified as

12   Described Herein) [Docket No. 1802] (the “Supplemental Torkin Declaration”).             The second

13   supplemental declaration provides updated disclosures with respect to the Schedules annexed to the

14   Torkin Declaration, as supplemented by the Supplemental Torkin Declaration.

15

16
                                                     Respectfully submitted,
17    Dated: July 24, 2019
18                                                   /s/ Jonathan C. Sanders
                                                     Jonathan C. Sanders
19                                                   Michael H. Torkin
                                                     Nicholas Goldin
20                                                   Kathrine A. McLendon
                                                     Jamie J. Fell
21
                                                     SIMPSON THACHER & BARTLETT LLP
22
                                                     Counsel for the Board of Each of PG&E
23                                                   Corporation and Pacific Gas and Electric
24                                                   Company and for Certain Current and Former
                                                     Independent Directors
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